      Case 2:18-cv-01608-WSS      Document 1       Filed 11/30/18   Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

-------------------------------------
                                               :
R. ALEXANDER ACOSTA, Secretary of Labor,
                                               :
United States Department of Labor,
                                               :
                                   Plaintiff,  :
                                               :
                                                    Civil Action No. _____________
                    v.                         :
                                               :
COMPREHENSIVE HEALTHCARE                       :
 MANAGEMENT SERVICES, LLC:                     :
MAYBROOK-C KADE OPCO, LLC ;                    :
MAYBROOK-C EVERGREEN OPCO, LLC;                :
MAYBROOK-C WHITECLIFF OPCO, LLC;               :
MAYBROOK-C LATROBE OPCO, LLC;                  :
MAYBROOK-C OVERLOOK OPCO, LLC;                 :
MAYBROOK-C SILVER OAKS OPCO, LLC;              :
MAYBROOK-C BRIARCLIFF OPCO, LLC;               :
MT LEBANON OPERATIONS LLC;                     :
MURRYSVILLE OPERATIONS LLC;                    :
SOUTH HILLS OPERATIONS LLC;                    :
CHESWICK REHABILITATION AND                    :
 WELLNESS CENTER, LLC;                         :
MONROEVILLE OPERATIONS LLC;                    :
NORTH STRABANE REHABILITATION AND              :
 WELLNESS CENTER, LLC;                         :
NORTH STRABANE RETIREMENT VILLAGE, :
 LLC;                                          :
CHMS GROUP LLC; and                            :
SAMUEL HALPER (an Individual),                 :
                                               :
                                   Defendants. :
                                               :
-------------------------------------

                                   COMPLAINT

     Plaintiff, R. ALEXANDER ACOSTA, Secretary of Labor, United States Department of

Labor, brings this action to enjoin COMPREHENSIVE HEALTHCARE MANAGEMENT

SERVICES, LLC; MAYBROOK-C KADE OPCO, LLC; MAYBROOK-C EVERGREEN

OPCO, LLC; MAYBROOK-C WHITECLIFF OPCO, LLC; MAYBROOK-C LATROBE

OPCO, LLC; MAYBROOK-C OVERLOOK OPCO, LLC; MAYBROOK-C SILVER OAKS
        Case 2:18-cv-01608-WSS             Document 1       Filed 11/30/18     Page 2 of 8




OPCO, LLC; MAYBROOK-C BRIARCLIFF OPCO, LLC; MT LEBANON OPERATIONS

LLC; MURRYSVILLE OPERATIONS LLC; SOUTH HILLS OPERATIONS LLC;

CHESWICK REHABILITATION AND WELLNESS CENTER, LLC; MONROEVILLE

OPERATIONS LLC; NORTH STRABANE REHABILITATION AND WELLNESS

CENTER, LLC; NORTH STRABANE RETIREMENT VILLAGE, LLC; CHMS GROUP LLC;

and SAMUEL HALPER (“Defendants”) from violating Sections 7, 11(c), 15(a)(2) and 15(a)(5)

of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“the Act”), and

for a judgment against Defendants in the total amount of back wage compensation found by the

Court to be due to the employees of Defendants pursuant to the Act and an equal amount due to

the employees of Defendants in liquidated damages.

        1.      This Court has jurisdiction over this action pursuant to Section 17 of the Act, 29

U.S.C. § 217, and 28 U.S.C. §§ 1331 and 1345.

        2.      Venue is proper in the United States District Court for the Western District of

Pennsylvania pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events or

omissions giving rise to this claim occurred within the judicial district.

        3.      Plaintiff, R. ALEXANDER ACOSTA, Secretary of Labor, United States

Department of Labor, is authorized by sections 16(c) and 17 of the Act, 29 U.S.C. §§ 216(c) and

217, to file suit to restrain violations of the Act and recover back wages and liquidated damages

and is the proper plaintiff for this action.

        4.      Defendants COMPREHENSIVE HEALTHCARE MANAGEMENT SERVICES,

LLC; MAYBROOK-C KADE OPCO, LLC; MAYBROOK-C EVERGREEN OPCO, LLC;

MAYBROOK-C WHITECLIFF OPCO, LLC; MAYBROOK-C LATROBE OPCO, LLC;

MAYBROOK-C OVERLOOK OPCO, LLC; MAYBROOK-C SILVER OAKS OPCO, LLC;



                                                  2
        Case 2:18-cv-01608-WSS             Document 1          Filed 11/30/18   Page 3 of 8




MAYBROOK-C BRIARCLIFF OPCO, LLC; MT LEBANON OPERATIONS LLC;

MURRYSVILLE OPERATIONS LLC; SOUTH HILLS OPERATIONS LLC; CHESWICK

REHABILITATION AND WELLNESS CENTER, LLC; MONROEVILLE OPERATIONS

LLC; NORTH STRABANE REHABILITATION AND WELLNESS CENTER, LLC; NORTH

STRABANE RETIREMENT VILLAGE, LLC; and CHMS GROUP LLC are limited liability

corporations that own and/or operate residential skilled nursing, rehabilitation, and assisted

living facilities (“Facilities”) at the following locations:

                a. 246 Friendship Circle, Beaver PA, 15009;

                b. 1198 West Wylie Avenue, Washington, Pennsylvania 15301;

                c. 191 Evergreen Mill Road, Harmony, PA 16037;

                d. 110 Fredonia Road, Greenville, Pennsylvania 16125;

                e. 576 Fred Rogers Drive, Latrobe, Pennsylvania 15650;

                f. 520 New Castle Street, New Wilmington, Pennsylvania 16142;

                g. 715 Harbor Street, New Castle, Pennsylvania 16101;

                h. 249 Maus Drive, Irwin, Pennsylvania 15642;

                i. 4142 Monroeville Boulevard, Monroeville, Pennsylvania 15146;

                j. 3876 Saxonburg Boulevard, Cheswick, Pennsylvania 15024;

                k. 350 Old Gilkeson Road, Pittsburgh, Pennsylvania 15228;

                l. 3300 Logan Ferry Road, Murrysville, Pennsylvania 15668;

                m. 100 Tandem Village Road, Canonsburg, Pennsylvania 15317;

                n. 200 Tandem Village Road, Canonsburg, Pennsylvania 15317;

                o. 201 Village Drive, Canonsburg, Pennsylvania 15317.

                                                I.



                                                     3
        Case 2:18-cv-01608-WSS             Document 1        Filed 11/30/18       Page 4 of 8




        5.      At all relevant times, Defendant SAMUEL HALPER (“HALPER”), who resides

in Pittsburgh, Pennsylvania, was the Chief Executive Officer of the Facilities. HALPER

controlled and managed the Facilities, regulated the employment of persons employed at the

Facilities, acted directly and indirectly in the interest of the limited liability companies in relation

to the employees, hired and fired employees, set the rates of employee compensation, and

directed the work of employees and is thus an employer of the employees within the meaning of

Section 3(d) of the Act. 29 U.S.C. § 203(d). Further, HALPER required that he be included in

all internal company correspondence regarding payroll and compensation issues, issued written

offers of employment to employees, and communicated employment policies to the employees.

        6.      At all relevant times, the business activities of Defendants, as described herein,

are and were related and performed through unified operation or common control for a common

business purpose and constitute an enterprise within the meaning of Section 3(r) of the Act. 29

U.S.C. § 203(r)(1). Additionally, the Facilities are a covered enterprise engaged in the operation

of institutions primarily engaged in the care of the sick, aged, or mentally ill who reside on the

premises. 29 U.S.C. § 203(r)(2)(A).

        7.      At all relevant times, Defendants have employed and are employing employees in

and about their places of business in activities of an enterprise engaged in commerce or in the

production of goods for commerce, including employees handling goods and materials (such as

food, medications, and office supplies) that are moved in interstate commerce. The enterprise

has had an annual gross volume of sales made or business done in an amount not less than

$500,000.00. Therefore, the employees are employed in an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of Section 3(s)(1)(A) of the Act.

29 U.S.C. § 203(s)(1)(A). Additionally, the employees are employed in an enterprise engaged in



                                                   4
        Case 2:18-cv-01608-WSS           Document 1        Filed 11/30/18      Page 5 of 8




commerce or the production of goods for commerce because the Facilities are engaged in the

operation of institutions primarily engaged in the care of the sick, aged, or mentally ill who

reside on the premises. 29 U.S.C. § 203(s)(1)(B).

       8.      Since at least December 14, 2014, Defendants have willfully and repeatedly

violated, and continue to willfully violate, the provisions of Sections 7 and 15(a)(2) of the Act,

29 U.S.C. §§ 207 and 215(a)(2), by employing employees at the Facilities in an enterprise

engaged in commerce or in the production of goods for commerce for workweeks longer than 40

hours without compensating said employees for their employment in excess of 40 hours in such

workweeks at rates not less than one and one-half times the regular rates at which they were

employed. Therefore, Defendants are liable for the payment of unpaid overtime compensation

and an equal amount of liquidated damages under Section 16(c) of the Act.

       For example, Defendants employed at the Facilities, among other positions, Registered

Nurses, Licensed Practical Nurses, Certified Nursing Assistants, Therapists, Aides, Admissions

Coordinators, Clerks, Cooks, Social Services Coordinators, Housekeeping and Maintenance

technicians, and administrative staff. Defendants were aware that these and other employees at

the Facilities regularly worked workweeks exceeding 40 hours, because the overtime hours are

shown on their time records. However, Defendants frequently did not compensate these

employees for all the overtime hours they worked, even though the overtime hours were

recorded in Defendants’ time-clock records. In many cases, Defendants paid such employees no

compensation for hours worked in excess of 40 hours in a week. Employees frequently

complained to Defendants that they were not properly paid for their overtime hours. Defendants

also knew that many of their employees frequently worked through their unpaid lunch periods

but made no effort to compensate them for these hours worked.



                                                 5
         Case 2:18-cv-01608-WSS           Document 1       Filed 11/30/18      Page 6 of 8




         9.     Where Defendants did compensate employees for overtime hours worked, they

frequently paid a rate less than one and one-half times an employee’s regular rate of pay. This

includes, but is not limited to, Defendants practice of not including the employees’ non-

discretionary bonuses and shift-differentials in their regular rate of pay when calculating their

overtime compensation rate.

         10.    Defendants have violated the provisions of Sections 11(c) and 15(a)(5) of the Act,

29 U.S.C. §§ 211(c) and 215(a)(5), by failing to maintain and preserve adequate and accurate

records of employee wages, hours, and other conditions of employment, as required by 29 C.F.R.

Part 516.

         For example, Defendants did not maintain and preserve adequate and accurate records of

the hours worked by their employees at the Facilities in that they often made payroll records

stating that employees worked 40 or fewer hours in a workweek when employees in fact worked

more than 40 hours in the workweek, as recorded in Defendants’ own time-clock records. 29

C.F.R. § 516.2. Defendants also did not maintain and preserve accurate records of employees’

regular rate of pay required to calculate overtime compensation because they did not include

non-discretionary bonuses and shift differentials in the calculation of employees’ regular rates of

pay. Id. Defendants also did not maintain and preserve accurate records of employees’ hours

worked when they recorded unpaid lunch breaks for all employees when some employees did not

in fact take lunch breaks. Id.

         Defendants also failed to make its records available for inspection by providing

incomplete records to the Administrator during its inspection of Defendants. 29 C.F.R. § 516.7.

         Defendants also failed to post notices explaining the Act in every Facility. 29 C.F.R.

516.4.



                                                  6
        Case 2:18-cv-01608-WSS            Document 1       Filed 11/30/18     Page 7 of 8




       WHEREFORE, cause having been shown, the Secretary prays for judgment against

Defendants providing the following relief:

       (1)       For an injunction issued pursuant to Section 17 of the Act permanently enjoining

and restraining Defendants, their officers, agents, servants, employees, and those persons in

active concert or participation with Defendants who receive actual notice of any such judgment,

from violating the provisions of Sections 7, 11(c), 15(a)(2) and 15(a)(5) of the Act; and

       (2)       For judgment pursuant to Section 16(c) of the Act finding Defendants liable for

unpaid overtime compensation due to certain of Defendants’ current and former employees listed

in the attached Schedule A for the period of December 14, 2014 through April 30, 2018, and for

an equal amount due to certain of Defendant’s current and former employees in liquidated

damages. Additional amounts of back wages and liquidated damages may also be owed to

certain current and former employees of Defendants listed in the attached Schedule A for

violations continuing after April 30, 2018, and may be owed to certain current and former

employees presently unknown to the Secretary for the period covered by this Complaint, who

may be identified during this litigation and added to Schedule A; or

       (3)       In the event liquidated damages are not awarded, for an injunction issued pursuant

to Section 17 of the Act restraining defendants, their officers, agents, employees, and those

persons in active concert or participation with defendants, from withholding the amount of

unpaid overtime compensation found due defendants’ employees and prejudgment interest

computed at the underpayment rate established by the Secretary of the Treasury pursuant to 26

U.S.C. § 6621.

       FURTHER, Plaintiff prays that this Honorable Court award costs of this action in his

favor, and an order granting such other and further relief as may be necessary and appropriate.



                                                 7
Case 2:18-cv-01608-WSS   Document 1   Filed 11/30/18        Page 8 of 8




                                  Respectfully submitted,


                                  Kate S. O’Scannlain
                                  Solicitor of Labor

                                  Oscar L. Hampton III
                                  Regional Solicitor

                                  s/ Patrick M. Dalin
                                  Patrick M. Dalin
                                  Trial Attorney
                                  PA ID# 307701

                                  s/ John Strawn
                                  John Strawn
                                  Senior Trial Attorney
                                  PA ID #49789

                                  Office of the Solicitor
                                  Suite 630E, The Curtis Center
                                  170 S. Independence Mall West
                                  Philadelphia, PA 19106-3306
                                  P: (215) 861-5165 f: (215) 861-5162
                                  dalin.patrick@dol.gov

                                  U.S. DEPARTMENT OF LABOR




                              8
